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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

    UNITED STATES OF AMERICA

    v.                                   Case No. 8:13-cr-189-T-33TGW

    JOSE ANGEL ANDUJAR
                                     /

                                    ORDER

          This matter is before the Court pursuant to the United

    States’ Motion to Dismiss Third Party Petitioners’ Claims

    (Doc. # 355), filed on July 16, 2014. The deadline for the

    Third Party Petitioners to respond to the Motion has expired

    and the Third Party Petitioners failed to file a response.

    Accordingly, the Court considers the Motion as an unopposed

    motion.

    I.    Background

          In a multi-defendant indictment, Defendant Jose Angel

    Andujar was charged with (1) conspiracy to distribute and to

    possess with intent to distribute five kilograms or more of

    a mixture or substance containing a detectable amount of

    cocaine,    in     violation   of    21   U.S.C.    §§    841(a)(1),

    (b)(1)(A)(ii), and 846, and (2) aiding and abetting others,

    to knowingly and intentionally distribute and possess with

    intent to distribute five kilograms or more of a mixture and
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    substance containing cocaine, in violation of 21 U.S.C. §§

    841(a)(1), (b)(1)(A)(ii), and 18 U.S.C. § 2. (Doc. # 75).

          The Superseding Indictment also contained forfeiture

    allegations putting Andujar on notice that, pursuant to 21

    U.S.C. § 853, the United States would seek to forfeit any

    property constituting, or derived from, any proceeds Andujar

    obtained,   directly    or   indirectly,   as   a   result   of   such

    violations, and any property used, or intended to be used, in

    any manner or part, to commit, or to facilitate the commission

    of, such violations, including but not limited to:

          a.    a 2011 Porsche Panamera, bearing Florida license
                plate number APSN70 and VIN WP0AC2A77BL090221;

          b.    a silver-colored pair of silver earrings;

          c.    a Cartier Santos 100 watch;

          d.    a silver-colored bracelet;

          e.    a silver-colored Breitling 1884 men’s watch;

          f.    a silver-colored ring; and

          g.    an iMac computer, Serial Number C02FT0WYDHJP.

    (Id. at 3-6).

          On October 22, 2013, Andujar pled guilty to Count One of

    the Superseding Indictment before Magistrate Judge Thomas G.

    Wilson. (Doc. # 205). Andujar’s plea was accepted and Andujar

    was adjudicated guilty on October 23, 2013. (Doc. # 208).



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          In his plea agreement, Andujar agreed to forfeit the

    subject     property     and   admitted         that     it    was    derived    from

    proceeds that Andujar obtained, directly or indirectly, as a

    result of the violation to which Andujar pled guilty. (Doc.

    # 198 at 6-9). Andujar was sentenced on May 22, 2014, and the

    Court’s judgment incorporated the forfeiture of the subject

    property into his sentence. (Doc. # 349 at 6-9).

          Thereafter, the United States sent direct written notice

    of forfeiture to all persons known to have, or known to claim,

    a   potential      interest    in    the       subject    property,       including

    Petitioners Henry Esteban Corniel-Lantigua, Nancy Corniel-

    Lantigua, and Sasha Sanchez. (Doc. # 350).

          On    July    8,   2014,      Henry      Esteban        Corniel-Lantigua     —

    Andujar’s step-father — filed a pro se claim to the 2011

    Porsche Panamera, VIN number WP0AC2A77BL090221. (Doc. # 351).

    Other      than    identifying       the       vehicle    and        providing   the

    claimant’s contact information, the claim states only: “I am

    claiming      interest    in     the       forfeited      property        that    was

    appropriated related to the case above.” (Id.).

          Nancy Corniel-Lantigua — Andujar’s mother — filed two

    pro se claims. (Doc. ## 352, 353). On July 8, 2014, she filed

    a claim to “1 – A Silver-colored pair of silver ear[r]ings,

    2 – A Cartier Santos 100 watch, and a 3 – silver colored


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    necklace.” (Doc. # 352). Other than identifying these items

    and providing her contact information, the claim says only

    “the following items, removed in [the above-styled case] are

    my property.” (Id.). On July 10, 2014, Ms. Corniel-Lantigua

    filed a claim to “(1) a silver colored bracelet, (2) a silver

    colored Breitling 1884 men’s watch, and (3) a silver colored

    ring.” (Doc. # 353). Similar to her first claim, in addition

    to identifying the items claimed and providing her contact

    information,    her   second   claim   says   only   “I   am    claiming

    interest in the Property that was appropriated related to

    [the above-styled case].” (Id.).

          On July 10, 2014, Sasha Sanchez — believed by the United

    States to be Andujar’s girlfriend — filed a pro se claim to

    the iMac computer, serial number C02FT0WYDHJP. (Doc. # 354).

    Similar to the claim filed by Mr. Corniel-Lantigua, Ms.

    Sanchez’s claim identifies the property claimed, provides her

    contact information, and states “the following items removed

    in [the above-styled case] are my property.” (Id.).

          On July 16, 2014, the United States filed a Motion to

    Dismiss Third Party Petitioners’ Claims. (Doc. # 355). The

    deadline for Petitioners to file a response in opposition to

    the Motion was, at the latest, August 4, 2014.                 As noted,

    Third Party Petitioners failed to respond to the Motion.


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    Accordingly, the Court considers the United States’ Motion

    unopposed.

    II.   Analysis

          In     the   Motion,   the    United    States     argues   that

    Petitioners’ claims should be dismissed because the claims do

    not meet the technical requirements of 21 U.S.C. § 853(n)(3)

    and Petitioners have failed to state a claim under 21 U.S.C.

    § 853(n)(6). (Doc. # 355).

          Section 853(n)(3) sets forth the pleading requirements

    for      third-party    petitions       in   ancillary     forfeiture

    proceedings. The statute states, in pertinent part:

          The petition shall be signed by the petitioner
          under penalty of perjury and shall set forth the
          nature and extent of the petitioner’s right, title,
          or interest in the property, the time and
          circumstances of the petitioner’s acquisition of
          the right, title, or interest in the property, any
          additional facts supporting the petitioner’s claim,
          and the relief sought.

    21 U.S.C. § 853(n)(3).

          In addition to the technical pleading requirements, 21

    U.S.C. § 853(n)(6) provides that a claim must establish by a

    preponderance of the evidence that:

       (A)     the petitioner has a legal right, title, or
               interest in the property, and such right, title,
               or interest renders the order of forfeiture
               invalid in whole or in part because the right,
               title, or interest was vested in the petitioner
               rather than the defendant or was superior to any


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                right, title, or interest of the defendant at
                the time of the commission of the acts which gave
                rise to the forfeiture of the property under this
                section;

                or

         (B)    the petitioner is a bona fide purchaser for value
                of the right, title, or interest in the property
                and was at the time of purchase reasonably
                without cause to believe that the property was
                subject to forfeiture under this section.

           Petitioners have failed to comply with the requirements

    of 21 U.S.C. §§ 853(n)(3) and (n)(6). First, none of the

    claims are verified under penalty of perjury. Further, none

    of the claims state the nature and extent of the Petitioners’

    right, title, or interest in the property. Additionally, none

    of    the    claims       state   the    time    or   circumstances     of   the

    Petitioners’ acquisition of the right, title, or interest in

    the property. Therefore, dismissal of Petitioners’ claims is

    appropriate.

           Accordingly, it is now

           ORDERED, ADJUDGED, and DECREED that:

    (1)    The       United    States’      Motion   to   Dismiss   Third    Party

           Petitioners’ Claims (Doc. # 355) is GRANTED.

    (2)    The claims of Henry Esteban Corniel-Lantigua (Doc. #

           351), Nancy Corniel-Lantigua (Doc. ## 352, 353), and

           Sasha Sanchez (Doc. # 354) are hereby DISMISSED.



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          DONE and ORDERED in Chambers, in Tampa, Florida, this

    8th day of August, 2014.




    Copies: All Counsel and Parties of Record, and Henry
    Esteban Corniel-Lantigua, Nancy Corniel-Lantigua, and
    Sasha Sanchez




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